          Case 5:18-cv-00903-OLG Document 17 Filed 12/04/18 Page 1 of 2


                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

MARIO JARAMILLO                §
                               §
vs.                            §                      NO: SA:18-CV-00903-OLG
                               §
SUN WEST MORTGAGE COMPANY, INC §


                                       SCHEDULING ORDER

    Pursuant to Rule 16, Federal Rules of Civil Procedure, the Court issues the following Scheduling Order:

    1.     A report on alternative dispute resolution in compliance with Local Rule CV-88 shall be filed by
           Friday, January 11, 2019. REGARDLESS OF WHETHER THE PARTIES CONCLUDE
           THAT ADR IS APPROPRIATE OR NOT , THE PARTIES SHALL INCLUDE THE NAME,
           ADDRESS AND TELEPHONE NUMBER OF A COURT-APPROVED MEDIATOR OR A
           MEDIATOR AGREED UPON BY BOTH PARTIES IN THEIR ADR REPORT. A list of
           court-approved neutrals and alternative dispute resolution summary form may be obtained at
           www.txwd.uscourts.gov/forms/mediator.asp. If you do not have access to the internet, you may
           call the United States District Clerk’s office at (210) 472-6550 to obtain a copy.

    2.     The parties asserting claims for relief shall submit a written offer of settlement to opposing
           parties by Friday, March 01, 2019 and each opposing party shall respond, in writing, by Friday,
           March 15, 2019.

    3.     The parties shall file all motions to amend or supplement pleadings or to join additional parties
           by Thursday, February 28, 2019.

    4.     All parties asserting claims for relief shall FILE their designation of testifying experts and
           SERVE on all parties, but not file, the materials required by Fed. R. Civ. P. 26(a)(2)(B) by
           Friday, February 15, 2019. Parties resisting claims for relief shall FILE their designation of
           testifying experts and SERVE on all parties, but not file, the materials required by Fed. R. Civ.
           P. 26(a)(2)(B) by Friday, March 01, 2019. All designations of rebuttal experts shall be FILED,
           and the materials required by Fed. R. Civ. P. 26(a)(2)(B) for such rebuttal experts, to the extent
           not already served, shall be SERVED, within 14 days of receipt of the report of the opposing
           expert.

    5.     An objection to the reliability of an expert’s proposed testimony under Federal Rule of Evidence
           702 shall be made by motion, specifically stating the basis for the objection and identifying the
           objectionable testimony, within (30) days of receipt of the written report of the expert’s proposed
           testimony, or within (30) days of the expert’s deposition, if a deposition is taken, whichever is
           later.

    6.     The parties shall complete all discovery on or before Friday, May 31, 2019. Counsel may by
           agreement continue discovery beyond the deadline, but there will be no intervention by the Court
           except in extraordinary circumstances, and no trial setting will be vacated because of information
           obtained in post-deadline discovery.
       Case 5:18-cv-00903-OLG Document 17 Filed 12/04/18 Page 2 of 2


7.      All dispositive motions shall be filed no later than Friday, June 28, 2019. Dispositive motions
        as defined in Local Rule CV-7(h) and responses to dispositive motions shall be limited to 20
        pages in length.

8.      The parties shall mediate this case on or before Friday, July 19, 2019, unless the parties seek an
        order from the Court excusing them from mediation.

9.      This case is set for pretrial conference on Wednesday, September 25, 2019 at 9:30 a.m.

        The parties should consult Local Rule CV-16(e) regarding matters to be filed in advance of
        a pretrial conference and/or trial.

10.     This case is set for jury selection and trial on Monday, September 30, 2019 at 9:30 a.m.

      SIGNED AND ENTERED this 4th day of December, 2018.



                                             ______________________________
                                             ORLANDO L. GARCIA
                                             CHIEF U.S. DISTRICT JUDGE
